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                       Elizabeth Sines, et al. v. Jason Kessler, et al.
                           Case No. 3:17-cv-00072-NKM-JCH




                          EXHIBIT A
         Plaintiffs’ Motion To Deem Established That Defendants Elliott Kline And
              Robert “Azzmador” Ray Committed Certain Specific Overt Acts
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
-----------------------------X
ELIZABETH SINES, et al.,
Case No.
Plaintiffs,


v.                     3:17-cv-00072-NKM


JASON KESSLER, et al.,


Defendants.
-----------------------------X


REMOTE VIDEOTAPED DEPOSITION
OF
ELLIOT KLINE A/K/A ELI MOSLEY
Wednesday, August 12, 2020




Reported by:
ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR


JOB NO. 182791
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                                                                             Page 424
1    E. Kline
2    UTR?
3    A. Yes.
4    Q. Did you see League of the South
5    at UTR?
6    A. Yes.
7    Q. Did you see NSM at UTR?
8    A. I'm not sure.
9    Q. Okay. And you obviously saw
10 members of the Rise Above Movement at UTR,
11 correct?
12 A. Yes.
13 Q. Did you participate in any chants
14 at UTR?
15 A. I'm not sure. I don't remember.
16 Q. And you were a leader on the
17 ground at UTR, correct?
18 A. Yes.
19 Q. And in fact, you have indicated
20 that you need to be -- you needed to be a
21 frontline commander at UTR, correct?
22 A. Yes.
23 Q. You were yelling out orders at
24 UTR?
25 A. Yes.
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                                                                             Page 425
1    E. Kline
2    Q. And you marched at the head of a
3    column of participants from a number of
4    different groups, right?
5    A. Yes. The first group I spoke
6    about earlier that came in.
7    Q. Okay.
8    MS. PHILLIPS: Katie, let's show
9    Tab 251, please, which is another video
10 from UTR.
11 (Video playing at this time.)
12 MS. PHILLIPS: Thank you, Katie.
13 We just played this exhibit from
14 the first second to the 44th second.
15 For the record, this is Exhibit 79.
16 (Plaintiffs' Exhibit 79,
17 Audio/Video, marked for identification,
18 as of this date.)
19 BY MS. PHILLIPS:
20 Q. And Mr. Kline, do you recognize
21 yourself at the front of that column of
22 individuals --
23 A. Yes.
24 Q. -- marching?
25 And that was Vanguard America,
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                                                                             Page 426
1    E. Kline
2    correct, members of Vanguard America?
3    A. Yes.
4    Q. That was with the black shields
5    with the white crossed fasces and white
6    shield with the black eagle, correct?
7    A. Yes.
8    Q. Okay. And was that the Detroit
9    Red Wings behind them, the white shield
10 with the Red Wings symbol?
11 A. Yes.
12 Q. Was that a fair and accurate
13 video taken of part of August 12th, 2017?
14 A. Yes.
15 Q. Okay. And James Field was in
16 that group with Vanguard America, correct?
17 A. I'm not sure if he was in that
18 specific first group or not.
19 Q. Okay.
20 MS. PHILLIPS: So, Katie, let's
21 play the rest of Exhibit 79 from -- if
22 you can jump forward to 1:45, the 1
23 minute, 45 second mark, and then we'll
24 play this to 2 minutes and 11 seconds.
25 (Video playing at this time.)
